      Case 3:04-cr-00138-JCH              Document 2349          Filed 05/14/09       Page 1 of 4




                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                          :
                                                  :       CRIMINAL ACTION NO.
v.                                                :       3:04-cr-138 (JCH)
                                                  :
RONALD DOUGLAS                                    :       MAY 12, 2009

             RULING RE: ELIGIBILITY FOR RESENTENCING (Doc. No. 2041)

       On April 22, 2008, this court issued an Order to Show Cause why the defendant,

Ronald Douglas, should be given a reduced sentence pursuant to the newly retroactive

change in the crack-cocaine guidelines. See Doc. No. 2041. The court noted that

Douglas had been found to be a career offender at sentencing, and that he therefore

appeared ineligible to obtain a reduced sentence. Id. In response, Douglas’s attorney

has filed a Response and Supplemental Response asserting that Douglas is eligible for

resentencing. See Doc. Nos. 2155 and 2273.

       At sentencing,1 the court determined that Douglas was a career offender.

Without career offender status, Douglas’s offense level would have been 28, and his

criminal history category VI. Sentencing Tr. at 5-6; PSR ¶¶ 5, 57. As such, after

accounting for acceptance of responsibility, Douglas would have faced a guidelines

range of 110-137 months’ imprisonment. Because he was a career offender, however,

the sentencing guidelines increased his offense level to 37, with his criminal history

remaining at VI. Sentencing Tr. at 6. This meant that, after accounting for acceptance



       1
           The court has reviewed the PSR and sentencing transcript in connection with the instant Ruling.

                                                      1
      Case 3:04-cr-00138-JCH       Document 2349       Filed 05/14/09    Page 2 of 4




of responsibility, Douglas faced a guidelines range of 262-327 months’ imprisonment.

      The government next made a motion for the court to downwardly depart from the

sentencing guidelines on the basis of the substantial assistance that Douglas provided

to the government. Id. at 8-11. The court granted this Motion and agreed to

downwardly depart. Id. at 11. In light of that decision to depart from the career offender

guidelines, and after weighing all of the factors under 18 U.S.C. § 3553(a), id. at 30-35,

the court imposed a sentence of 140 months imprisonment. Id. at 35.

      In his Response to the Show Cause Order, Douglas’s attorney contends that

Douglas is eligible for resentencing because he received a downward departure from

the career offender guidelines. See Doc. No. 2155. In his supplemental response, he

contends that he is eligible for resentencing pursuant to United States v. McGee, 553

F.3d 225 (2d Cir. 2009). See Doc. No. 2273.

      Douglas is only eligible for a retroactive sentence reduction if the crack-cocaine

amendments “have the effect of lowering the defendant’s applicable guideline range”

within the meaning of U.S.S.G. § 1B1.10. At sentencing, Douglas received a term of

imprisonment that was less than the term applicable under the career offender

Guidelines. His term of imprisonment resulted from the court’s departure below the

guideline range pursuant to a § 5K1.1 motion of the government based on the

defendant’s substantial assistance, and after weighing all of the factors under 18 U.S.C.

§ 3553(a). See Tr. at 30-35. That is, Douglas was sentenced as a career offender

pursuant to a departure for substantial assistance and after weighing the 3553(a)


                                            2
       Case 3:04-cr-00138-JCH             Document 2349           Filed 05/14/09        Page 3 of 4




factors. At no time did the court state that it was departing downward on the basis that

Douglas’s career offender status overrepresented his criminal history.2 In light of

Douglas’s career offender status, and the fact that the court did not base Douglas’s

sentence on the crack-cocaine guidelines,3 his guidelines calculation was not affected

by the retroactive change in the crack-cocaine guidelines. See United States v. Ogman,

535 F.3d 108, 111 (2d Cir. 2008) (holding that where sentence is pursuant to Guideline

range that results from status as a career offender, and without reliance upon the

Guidelines’ drug quantity table, remand to district court for resentencing is not

appropriate); cf. McGee, 553 F.3d 225 (holding that where a defendant designated a

career offender was granted a departure so that he was ultimately sentenced based on

the crack cocaine guidelines, he is eligible for a reduced sentence). Because Douglas

received a non-guideline sentence, and his sentence was not based on the crack-

cocaine guidelines, a further reduction would not be appropriate.

        For the foregoing reasons, the court concludes that Douglas is not eligible for

resentencing.




        2
         Furtherm ore, at no tim e did the court state that it was basing its sentence on the guideline range
that would be applicable to Douglas if he were not a career offender. The 140-m onth sentence actually
im posed on Douglas is greater than the 110-137 m onth guideline range that would have been applicable
in the absence of the career offender guidelines.

        3
         Douglas states he was sentenced “under 2D1.1(c)(1),” citing a 6/3/02 Transcript at 62-63.
Douglas was sentenced on Septem ber 20, 2005, the sentencing transcript is 40 pages long, and the court
can locate no reference in it to 2D1.1(c)(1).

                                                      3
    Case 3:04-cr-00138-JCH     Document 2349      Filed 05/14/09    Page 4 of 4




SO ORDERED.

    Dated at Bridgeport, Connecticut, this 12th day of May, 2009.



                                      /s/ Janet C. Hall
                                     Janet C. Hall
                                     United States District Judge




                                        4
